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                      UNITED STATES DISTRICT COURT
             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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14     MICHAEL J. ANGLEY, Individually
       and on Behalf of All Others Similarly   Case No. 2:14-cv-02066-CBM-Ex
15     Situated,
16                                             FINAL JUDGMENT AND
                   Plaintiff,                  ORDER OF DISMISSAL WITH
17                                             PREJUDICE [JS-6]
18           v.

19     UTI WORLDWIDE INC., et al.,
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                   Defendants.
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                                               FINAL JUDGMENT AND ORDER OF DISMISSAL
                                                                 Case No. 2:14-cv-02066-CBM-E
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 1          This matter came before the Court for hearing pursuant to the Order
 2    Preliminarily Approving Settlement and Providing for Notice (“Preliminary
 3    Approval Order”) dated September 5, 2018, on the application of the Settling Parties
 4    for approval of the Settlement set forth in the Stipulation of Settlement dated August
 5    7, 2018 (the “Stipulation”). Due and adequate notice having been given to the Class,
 6    and putative Class Members, as required in said Order, and the Court having
 7    considered all papers filed and proceedings had herein and otherwise being fully
 8    informed in the premises and good cause appearing therefore, IT IS HEREBY
 9    ORDERED, ADJUDGED, AND DECREED that:
10          1.     This Final Judgment and Order of Dismissal with Prejudice (“Order and
11    Final Judgment” or “Judgment”) incorporates by reference the definitions in the
12    Stipulation, and all terms used herein shall have the same meanings as set forth in
13    the Stipulation, unless otherwise set forth herein.
14          2.     This Court has jurisdiction over the subject matter of the Action and
15    over all Settling Parties, including all members of the Class.
16          3.     Pursuant to Rule 23 of the Federal Rules of Civil Procedure, this Court
17    hereby approves the Settlement set forth in the Stipulation and finds that said
18    Settlement is, in all respects, fair, reasonable, and adequate to the Class.
19          4.     Pursuant to Rule 23 of the Federal Rules of Civil Procedure, the Court
20    finds that the Settlement is fair, reasonable, and adequate as to each of the Settling
21    Parties, and that the Settlement set forth in the Stipulation is hereby finally approved
22    in all respects, and the Settling Parties are hereby directed to perform its terms.
23          5.     Accordingly, the Court authorizes and directs implementation of the
24    terms and provisions of the Stipulation, as well as the terms and provisions hereof.
25    The Court hereby dismisses with prejudice the Action and all claims contained
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27                                                                FINAL JUDGMENT AND ORDER
                                                 -2-                                OF DISMISSAL
28                                                                   Case No. 2:14-cv-02066-CBM-E
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 1    therein and all of the Settled Claims as against the Releasees, except as and to the
 2    extent provided in the Stipulation and herein.
 3          6.     Upon the Effective Date hereof, and as provided in the Stipulation,
 4    Class Representative and each and all of the Class Members shall be deemed to have,
 5    and by operation of this Judgment shall have, fully, finally, and forever remised,
 6    released, relinquished, and discharged all Settled Claims (including, without
 7    limitation, Unknown Claims and any claim that the Stipulation was fraudulently
 8    reduced), debts, demands, rights, actions, suits, causes of actions, or liabilities
 9    whatsoever (including, but not limited to, any and all claims for damages, interest,
10    attorneys’ fees, expert or consulting fees, and any other costs, expenses, or liability
11    whatsoever), whether based on federal, state, local, statutory, or common law, or any
12    other law, rule, or regulation (whether foreign or domestic), whether class or
13    individual in nature, against the Releasees, regardless of whether such Class Member
14    executes and delivers the Proof of Claim form, except for claims relating to the
15    enforcement of the Settlement.
16          7.     Pursuant to the Private Securities Litigation Reform Act of 1995
17    (“PSLRA”), 15 U.S.C. § 78u-4(f)(7), upon the Effective Date of the Settlement, the
18    Releasees are discharged from all claims for contribution by any person or Entity,
19    whether arising under state, federal or common law, based upon, arising out of,
20    relating to, or in connection with the Settled Claims of the Class or any Releasor.
21    Accordingly, to the full extent provided by the PSLRA, upon the Effective Date of
22    the Settlement, the Court bars all claims for contribution: (i) against the Releasees;
23    and (ii) by the Releasees against any person or Entity other than any person or Entity
24    whose liability to the Class has been extinguished pursuant to the Stipulation and
25    this Judgment. Any final verdict or judgment obtained by or on behalf of Class
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27                                                               FINAL JUDGMENT AND ORDER
                                                -3-                                OF DISMISSAL
28                                                                  Case No. 2:14-cv-02066-CBM-E
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 1    Representative, the Class, or any Class Member shall be reduced as provided by the
 2    PSLRA.
 3          8.     Upon the Effective Date hereof, and as provided in the Stipulation, each
 4    of the Releasees shall be deemed to have, and by operation of this Judgment shall
 5    have, fully, finally, and forever released, relinquished, and discharged Class
 6    Representative, each and all of the Class Members and Class Counsel from Settled
 7    Defendants’ Claims, and shall forever be enjoined from prosecuting such claims,
 8    except for claims relating to the enforcement of the Settlement.
 9          9.     Each Class Member, whether or not such Class Member executes and
10    delivers a Proof of Claim, is bound by this Judgment, including, without limitation,
11    the release of claims as set forth in the Stipulation.
12          10.    The Notice was disseminated and published in accordance with the
13    Preliminary Approval Order. The form and method of notifying the Class of the
14    pendency of the Action and the terms and conditions of the proposed Settlement
15    satisfied the requirements of Rule 23 of the Federal Rules of Civil Procedure, Section
16    21D(a)(7) of the Securities Exchange Act of 1934, 15 U.S.C. § 78u-4(a)(7) as
17    amended by the PSLRA, due process, and all other applicable law and rules,
18    constituted the best notice practicable under the circumstances, and constituted due
19    and sufficient notice to all Class Members and putative Class Members. Class
20    Counsel has filed with the Court proof of mailing of the Notice and Proof of Claim
21    and proof of publication of the Publication Notice.
22          11.    The Plan of Allocation is approved as fair and reasonable, and Class
23    Counsel and the Claims Administrator are directed to administer the Stipulation in
24    accordance with its terms and provisions.
25          12.    Neither the Stipulation nor any of its terms or provisions, nor any of the
26    negotiations, discussions, proceedings connected with it, nor any act performed or
27                                                               FINAL JUDGMENT AND ORDER
                                                 -4-                               OF DISMISSAL
28                                                                  Case No. 2:14-cv-02066-CBM-E
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 1    document executed pursuant to or in furtherance of the Stipulation or the Settlement:
 2    (a) is or may be deemed to be or may be used as an admission of, or evidence of, the
 3    validity of any of the allegations in the Action or of the validity of any Released
 4    Claim, or of any wrongdoing or liability of the Releasees; or (b) is or may be deemed
 5    to be or may be used as an admission of, or evidence of, any fault or omission of any
 6    of the Releasees in any civil, criminal, or administrative proceeding in any court,
 7    arbitration proceeding, administrative agency, or forum or tribunal in which the
 8    Releasees are or become parties; or (c) is or may be deemed to be or may be used as
 9    an admission or evidence that any claims asserted by Class Representative were not
10    valid or that the amount recoverable was not greater than the Settlement Amount, in
11    any civil, criminal, or administrative proceeding in any court, administrative agency,
12    or other tribunal. The Releasees, Class Representative, Class Members, and their
13    respective counsel may file the Stipulation and/or this Judgment in any action that
14    may be brought against them in order to support a defense or counterclaim based on
15    principles of res judicata, collateral estoppel, release, good faith settlement,
16    judgment bar or reduction, or any other theory of claim preclusion or issue
17    preclusion or similar defense or counterclaim. The Settling Parties may file the
18    Stipulation and/or this Judgment in any proceedings that may be necessary to
19    consummate or enforce the Stipulation, the Settlement, or the Judgment.
20          13.    Without affecting the finality of this Judgment in any way, this Court
21    hereby retains continuing exclusive jurisdiction over: (a) implementation of the
22    Settlement and any award or distribution of the Settlement Fund, including interest
23    earned thereon; (b) disposition of the Settlement Fund; (c) hearing and determining
24    applications for attorneys’ fees and expenses and interest in the Action; and (d) all
25    Settling Parties hereto for the purpose of construing, enforcing, and administering
26    the Stipulation.
27                                                               FINAL JUDGMENT AND ORDER
                                                -5-                                OF DISMISSAL
28                                                                  Case No. 2:14-cv-02066-CBM-E
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 1          14.    The Court finds that during the course of the Action, the Settling Parties
 2    and their respective counsel at all times complied with the requirements of Rule
 3    11(b) of the Federal Rules of Civil Procedure.
 4          15.    In the event that the Settlement does not become effective in accordance
 5    with the terms of the Stipulation, or the Effective Date does not occur, or in the event
 6    that the Settlement Fund, or any portion thereof, is returned to the Defendants, then
 7    this Judgment shall be rendered null and void to the extent provided by and in
 8    accordance with the Stipulation and shall be vacated and, in such event, all orders
 9    entered and releases delivered in connection herewith shall be null and void to the
10    extent provided by and in accordance with the Stipulation.
11          16.    Without further approval from the Court, the parties are authorized to
12    agree to and adopt such amendments and modifications of the Stipulation as (a) shall
13    be consistent in all material respects with this Judgment, and (b) do not materially
14    limit the rights of Class Members. Without further order of the Court, the Settling
15    Parties may agree to reasonable extensions of time to carry out any of the provisions
16    of the Stipulation.
17          17.    As there is no just reason for delay in the entry of this Final Judgment
18    and Order of Dismissal with Prejudice, the Court hereby directs that this Final
19    Judgment and Order of Dismissal with Prejudice be entered by the clerk forthwith
20    pursuant to Federal Rule of Civil Procedure 54(b). The direction of the entry of final
21    judgment pursuant to Rule 54(b) is appropriate and proper because this Judgment
22    fully and finally adjudicates the claims of the Class against Defendants in this
23    Action, it allows consummation of the Settlement, and will expedite the distribution
24    of the Settlement proceeds to the Class Members.
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27                                                                FINAL JUDGMENT AND ORDER
                                                 -6-                                OF DISMISSAL
28                                                                   Case No. 2:14-cv-02066-CBM-E
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 1             18.   The Court directs immediate entry of this Judgment by the Clerk of the
 2    Court.
 3         IT IS SO ORDERED.
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      DATED: February 28, 2019                        ______________________________
                                                        Honorable Consuelo B. Marshall
 6                                                       United States District Judge
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27                                                               FINAL JUDGMENT AND ORDER
                                                -7-                                OF DISMISSAL
28                                                                  Case No. 2:14-cv-02066-CBM-E
